Case 2:05-cr-20260-.]PI\/| Document 9 Filed 07/26/05 Page 1 of 2 Page|D 7

 

     

 

IN THE UNITED sTATEs DISTRICT coURT psi `,-@_;~j … /5,@_
FoR THE WESTERN DISTRICT or TENNESSEE ' D'C'
WESTERN DIVISION 95 JUL 26 PH h. 22
UNITED sTATEs oF AMERICA 51 `15_ TC%UR,
l"`z'.i':` "` ;¢i.‘ l.il_|;".fPHiS
v. 05-20260-M1
CHAD JoHNsoN
oRDER oN ARRAIGNMENT

 

This cause came to be heard on q/U-Lq 624 , gao 5 , the United States Attorney
for this district appeared on behalf of the Yvemrr@ht, and the defendant appeared in person and with
counsel:

NAME th» ~£a/MUG/Lbe(/ (`(UPA> Who is Retained/Appointed.

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

 

All motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended.

_/'I he defendant, Who is not in custody, may stand on his present bond.
T

he defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

W
@/cw K Zéd@/yr
UNITED STATES MAGISTRATE IUDGE

CHARGES: 18:922 (g);

U. S. Attorney assigned to Case: S. Hall

Age: 2 5

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This notice confirms a copy of the document docketed as number 9 in
case 2:05-CR-20260 Was distributed by faX, mail, or direct printing on
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Honorable J on l\/lcCalla
US DISTRICT COURT

